               Case 1:09-cr-00347-AWI Document 21 Filed 10/15/09 Page 1 of 2


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     JOSE ANTONIO MORENO LOPEZ
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                   IN THE UNITED STATES DISTRICT COURT
 9
               FOR THE EASTERN DISTRICT OF CALIFORNIA
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12
     UNITED STATES OF AMERICA,                            Case No.: 09-CR-00347 AWI
13                        PLAINTIFF,
                                                          STIPULATION AND ORDER TO
14                                                        CONTINUE STATUS
                                                          CONFERENCE HEARING
15
     YSIDRO MORENO LOPEZ,
16   JOSE ANTONIO MORENO LOPEZ
17                                 DEFENDANTS.
18
19   TO: THE CLERK OF THE UNITED STATES DISTRICT COURT, HONORABLE:
20   ANTHONY W. ISHII AND SHEILA K. OBERTO, ASSISTANT UNITED STATES
21   ATTORNEY:
22          COMES NOW Defendant, JOSE ANTONIO MORENO LOPEZ by and through his
23   attorney of record, DAVID A. TORRES hereby requesting that the status conference currently set
24   for October 19, 2009 be continued to November 23, 2009 at 9:00 a.m., or a date convenient to
25   court and counsel.
26          This is a mutual agreement between myself, Co-Counsel John A. Tello, and Assistant
27   United States Attorney Sheila K. Oberto. I commenced a homicide trial on October 13, 2009 and
28   it is expected to last approximately three (3) weeks. In addition, Mr. Tello is scheduled to
               Case 1:09-cr-00347-AWI Document 21 Filed 10/15/09 Page 2 of 2


 1   commence trial today, October 15, 2009.
 2          Based upon the foregoing, I respectfully request that this matter be continued to
 3   November 23, 2009.
 4          The parties also agree that the delay resulting from the continuance shall be excluded in
 5   the interest of justice pursuant to 18 U.S.C. §3161 (h)(7)(A) and §3161 (h)(7)(B)(i) & (iv).
 6                  IT IS SO STIPULATED.
 7
 8   Dated: 10/15/09                                      /s/ David A. Torres
                                                          DAVID A. TORRES
 9                                                        Attorney for Defendant
                                                          JOSE ANTONIO MORENO LOPEZ
10
11
     Dated: 10/15/09                                      /s/ John A. Tello
12                                                        JOHN A. TELLO
                                                          Attorney for Defendant
13                                                        YSIDRO MORENO LOPEZ
14
15   Dated: 10/15/09                                      /s/ Sheila K. Oberto
                                                          SHEILA K. OBERTO
16                                                        Assistant U.S. Attorney
17
18
                                                 ORDER
19
            IT IS SO ORDERED. Time is excluded in the interest of justice pursuant to 18 U.S.C.
20
     §3161(h)(7)(A) and §3161 (h)(7)(B)(i) & (iv).
21
22
     IT IS SO ORDERED.
23
     Dated:     October 15, 2009                      /s/ Anthony W. Ishii
24   0m8i78                                  CHIEF UNITED STATES DISTRICT JUDGE
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